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                                                            7   Attorneys for Plaintiff,
                                                                S.S.L INVESTMENTS, LLC
                                                            8
                                                                                     UNITED STATES DISTRICT COURT
                                                            9
2301 Rosecrans Avenue, Suite 3180, El Segundo, CA 90245




                                                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                           10

                                                           11
                                                                S.S.L INVESTMENTS, LLC, a                   Case No.:
                                                           12
                                                                California limited liability company,
                                                           13
                                                                                                            COMPLAINT FOR DAMAGES
                                                                               Plaintiff,
                                                           14
                                                                                                            1. RICO (18 U.S.C. §1962(c))
                                                           15                      v.
                                                                                                            2. Conspiracy to Violate RICO
                                                           16                                                  (18 U.S.C. §1962(d))
                                                                ASHA OROSKAR, an individual;
                                                                                                            3. Fraud (Intentional
                                                           17   ANIL OROSKAR, an individual;
                                                                                                               Misrepresentation)
                                                                PRIYANKA SHARMA, an individual;
                                                           18                                               4. Fraudulent Concealment
                                                                PULAK SHARMA, an individual;
                                                                                                            5. Unlawful Business Practices (Cal.
                                                           19   GREGORY ROCKLIN, an individual;
                                                                                                               Bus. & Prof. Code §§ 17200 et seq.)
                                                                OROCHEM TECHNOLOGIES, INC.,
                                                           20                                               6. False Advertising (Cal. Bus. &
                                                                an Illinois corporation; KAZMIRA,
                                                                                                               Prof. Code §§ 17500 et seq.)
                                                           21   LLC; a Delaware limited liability
                                                                company; and DOES 1 through 10,
                                                           22
                                                                inclusive,
                                                                                                            JURY TRIAL DEMANDED
                                                           23
                                                                              Defendants.
                                                           24

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                                                            1         TO THIS HONORABLE COURT AND ALL INTERESTED PARTIES:
                                                            2         Plaintiff S.S.L INVESTMENTS, LLC (“SSL”) alleges the following claims
                                                            3   against Defendants ASHA OROSKAR; ANIL OROSKAR; PRIYANKA SHARMA;
                                                            4   PULAK SHARMA; GREGORY ROCKLIN; OROCHEM TECHNOLOGIES, INC.;
                                                            5   and KAZMIRA, LLC (collectively “Defendants”) as follows:
                                                            6

                                                            7                                      THE PARTIES
                                                            8         1.     Plaintiff S.S.L INVESTMENTS, LLC is a California limited liability
                                                            9   company. During the relevant time period, SSL’s principal place of business was
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                                                           10   located at 9419 Mason Avenue, Chatsworth, California 91311. SSL’s current address
                                                           11   is 10700 San Monica Blvd, Suite 203, Los Angeles, CA 90025. SSL is and was
                                                           12   member managed by Michael Yedidsion, Pedram Salimpour, H. Troy Farahmand,
                                                           13   and Bob Kashani, each of whom are domiciled in California.
                                                           14         2.     Defendant OROCHEM TECHNOLOGIES, INC. (“Orochem”) is a
                                                           15   corporation organized under the laws of Illinois with its principal place of business
                                                           16   at 340 Shuman Boulevard, Naperville, Illinois 60563. Orochem represents that it is
                                                           17   a “leading provider for specialty purification technologies” and “a global expert in
                                                           18   chromatography, including Simulated Moving Bed (“SMB”) chromatography.” On
                                                           19   information and belief, Orochem is a private company that is wholly owned by Asha
                                                           20   Oroskar and Anil Oroskar.
                                                           21         3.     Defendant ASHA OROSKAR is an individual who is domiciled in
                                                           22   Naperville, Illinois. At all relevant times, she was the principal, President, and Chief
                                                           23   Executive Officer of Orochem.
                                                           24         4.     Defendant ANIL OROSKAR is an individual who is domiciled in
                                                           25   Naperville, Illinois. At all relevant times, he was the principal and Chief Technology
                                                           26   Officer of Orochem.
                                                           27         5.     Plaintiff KAZMIRA, LLC (“Kazmira”) is currently a Delaware limited
                                                           28   liability company with its principal place of business at 34501 E. Quincy Ave.,

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                                                            1   Building 35, Watkins, Colorado, 80137. In January 2017, Kazmira was formed by
                                                            2   Anil Oroskar, Asha Oroskar, and Orochem as a Colorado limited liability company
                                                            3   with its principal place of business is located at 34501 E. Quincy Ave., Building 35,
                                                            4   Watkins, Colorado 80137. In May 2020, Kazmira registered as a Delaware limited
                                                            5   liability company. On information and belief, Kazmira is a private company that is
                                                            6   owned by Asha Oroskar and Anil Oroskar, and is a subsidiary, partner, and/or
                                                            7   licensee of Orochem. Kazmira uses Orochem’s chromatography equipment to make
                                                            8   cannabidiol oil that is derived from hemp. Kazmira’s co-Chief Executive Officers
                                                            9   are Defendants Priyanka Sharma and Pulak Sharma, who are the children of Asha
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                                                           10   Oroskar and Anil Oroskar. The land on which Kazmira’s facility is located is owned
                                                           11   by APPoGee Kazmira, LLC, a real estate holding company with the sole purpose of
                                                           12   holding title to the property. The only members of APPoGee Kazmira, LLC are Asha
                                                           13   Oroskar and Anil Oroskar.
                                                           14         6.     Defendant PRIYANKA SHARMA is an individual who is domiciled in
                                                           15   Denver, Colorado. Mrs. Sharma is the daughter of Defendants Anil Oroskar and
                                                           16   Asha Oroskar, and the wife of Defendant Pulka Sharma. At all relevant times, she
                                                           17   was the co-CEO of Kazmira.
                                                           18         7.     Defendant PULAK SHARMA is an individual who is domiciled in
                                                           19   Denver, Colorado. Mr. Sharma is the son-in law of Defendants Anil Oroskar and
                                                           20   Asha Oroskar, and the husband of Defendant Priyanka Sharma. At all relevant times,
                                                           21   he was the co-CEO of Kazmira.
                                                           22         8.     Defendant GREGORY ROCKLIN is an individual who is domiciled in
                                                           23   Atherton, California. At all relevant times, he was the business development agent
                                                           24   for Defendants Asha Oroskar, Anil Oroskar, Priyanka Sharma, Pulak Sharma,
                                                           25   Orochem, and Kazmira.
                                                           26         9.     The true names and capacities, whether individual, corporate, associate,
                                                           27   or otherwise, of the defendants named herein as DOES 1 to 10, are unknown to
                                                           28   Plaintiff at this time and therefore said defendants are being sued by such fictitious

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                                                            1   names. The full extent of the facts linking such fictitiously sued Defendants is
                                                            2   unknown to Plaintiff. Plaintiff is informed and believes and based thereon allege that
                                                            3   each of the defendants designated herein as a DOE was, and is legally responsible in
                                                            4   some manner or means for the events and happenings referred to herein and
                                                            5   proximately caused damage to Plaintiff, either through their own conduct or the
                                                            6   conduct of their agents, servants, or employees, or due to their ownership,
                                                            7   supervision, and/or management of the employees, agents, entities, and/or
                                                            8   instrumentalities that caused said damages, or in some other manner or means that is
                                                            9   presently unknown to Plaintiff. Plaintiff will hereafter seek leave of the Court to
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                                                           10   amend this Complaint to show the fictitiously sued defendants’ true names and
                                                           11   capacities, after the same have been ascertained.
                                                           12         10.    At all times mentioned herein, each of the Defendants was the agent,
                                                           13   principal, partner, alter-ego, joint venturer, employee, and/or authorized
                                                           14   representative of every other Defendant and, in doing the things hereinafter alleged,
                                                           15   was acting within the course and scope of such agency, service, and representation
                                                           16   and directed, aided and abetted, authorized, and/or ratified each and every act and
                                                           17   conduct hereinafter alleged.
                                                           18         11.    Plaintiff is informed and believes, and based thereon alleges, that the
                                                           19   business affairs of Orochem, Asha Oroskar and Anil Oroskar are, and at all times
                                                           20   relevant were, so mixed and intermingled that they cannot reasonably be segregated,
                                                           21   and are in inextricable confusion such that a unity of interest and ownership existed,
                                                           22   including the comingling of assets and the use of Asha Oroskar and Anil Oroskar
                                                           23   personal telephone, cellular phone, computers, computer software, portable
                                                           24   electronic devices, email accounts, bank accounts, and other personal devices and/or
                                                           25   accounts in carrying out the actions alleged herein as and/or on behalf of Orochem.
                                                           26   Orochem is, and at all times relevant hereto was, used by Defendants Asha Oroskar
                                                           27   and Anil Oroskar as a shell and conduit for the conduct of certain of their affairs and
                                                           28   is, and was, the alter ego of Defendants Anil Oroskar and Asha Oroskar. The

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                                                            1   recognition of the separate existence of Orochem would be unfair and would not
                                                            2   promote justice, in that it would permit Asha Oroskar and Anil Oroskar to wrongfully
                                                            3   insulate themselves from liability to Plaintiff. Accordingly, Defendant Orochem
                                                            4   constitutes the alter ego of Asha Oroskar and Anil Oroskar, and the fiction of its
                                                            5   separate existence should be disregarded.
                                                            6         12.    Plaintiff is informed and believes, and based thereon alleges, that the
                                                            7   business affairs of Kazmira, Orochem, Anil Oroskar, Asha Oroskar, Priyanka
                                                            8   Sharma, and Pulak Sharma are, and at all times relevant were, so mixed and
                                                            9   intermingled that they cannot reasonably be segregated, and are in inextricable
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                                                           10   confusion such that a unity of interest and ownership existed, including the
                                                           11   comingling of assets and the use of Orochem, Anil Oroskar, Asha Oroskar, Priyanka
                                                           12   Sharma, Pulak Sharma’s personal telephone, cellular phone, computers, computer
                                                           13   software, portable electronic devices, email accounts, bank accounts, and other
                                                           14   personal devices and/or accounts in carrying out the actions alleged herein as and/or
                                                           15   on behalf of Kazmira. Kazmira is, and at all times relevant hereto was, used by
                                                           16   Defendants Orochem, Anil Oroskar, Asha Oroskar, Priyanka Sharma, Pulak Sharma
                                                           17   as a shell and conduit for the conduct of certain of their affairs and is, and was, the
                                                           18   alter ego of Defendants Orochem, Anil Oroskar, Asha Oroskar, Priyanka Sharma,
                                                           19   Pulak Sharma. The recognition of the separate existence of Kazmira would be unfair
                                                           20   and would not promote justice, in that it would permit Orochem, Anil Oroskar, Asha
                                                           21   Oroskar, Priyanka Sharma, Pulak Sharma to wrongfully insulate themselves from
                                                           22   liability to Plaintiff. Accordingly, Defendant Kazmira constitutes the alter ego of
                                                           23   Orochem, Anil Oroskar, Asha Oroskar, Priyanka Sharma, Pulak Sharma, and the
                                                           24   fiction of its separate existence should be disregarded.
                                                           25

                                                           26                             JURISDICTION AND VENUE
                                                           27         13.    The Court has jurisdiction over the subject matter of this action under
                                                           28   28 U.S.C. §§1331 and 1338 in that this action arises under the laws of the United

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                                                            1   States, specifically 18 U.S.C. §1962(c) (RICO) and 18 U.S.C. §1962(d) (Conspiracy
                                                            2   to violate RICO). The Court also has supplemental jurisdiction over Plaintiff’s state
                                                            3   and common law claims pursuant to 28 U.S.C. §1367, which form part of the same
                                                            4   case or controversy.
                                                            5          14.    This Court has personal jurisdiction over all Defendants because they
                                                            6   conducted business with Plaintiff and committed wrongful acts and/or directed
                                                            7   wrongful acts toward and/or that were committed within the County of Los Angeles,
                                                            8   California giving rise to this Complaint. Defendants all traveled to Los Angeles,
                                                            9   California to meet with Plaintiff and induce Plaintiff to do business with them.
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                                                           10          15.    This Court also has personal jurisdiction over all Defendants pursuant
                                                           11   to 18 U.S.C.A. §1965(b) as Plaintiff alleges that Defendants Anil Oroskar, Asha
                                                           12   Oroskar, Priyanka Sharma, Pulak Sharma, and Gregory Rocklin conspired to commit
                                                           13   wrongful acts and tortious activities within the County of Los Angeles, California
                                                           14   including conspiring to violate RICO under 18 U.S.C. §1962(d)); one or more of the
                                                           15   Defendants is subject to personal jurisdiction in this Court; the ends of justice require
                                                           16   that other parties residing in any other district be brought before the court; and there
                                                           17   is no other district in which a court will have personal jurisdiction over all of the
                                                           18   alleged coconspirators.
                                                           19          16.    The exercise of personal jurisdiction over Defendants is reasonable and
                                                           20   proper because, at the time pertinent to these allegations, Defendants transacted
                                                           21   business and derived substantial revenue from services rendered in the State of
                                                           22   California.    Defendants      participated     in    the    transactions,   negotiations,
                                                           23   communications, and other activities within and/or targeted at California that give
                                                           24   rise to the claims in this Complaint. Moreover, Defendants have committed tortious
                                                           25   acts causing injury to Plaintiff in California.
                                                           26          17.    Venue is proper in this District because a substantial part of the events
                                                           27   or omissions giving rise to this Complaint occurred, and a substantial part of property
                                                           28   that is the subject of the action is situated in this District.

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                                                            1                               FACTUAL ALLEGATIONS
                                                            2         18.    Tetrahydrocannabinol (“THC”) is the psychoactive compound present
                                                            3   in cannabis. Crude THC oil contains impurities such as pesticides, heavy metals,
                                                            4   color components, and sugars. California law requires that THC oil be processed to
                                                            5   the point that it only contains trace amounts of impurities. See e.g., Cal. Code Regs.
                                                            6   tit. 16, §§ 5714 et seq. The key requirement to producing a marketable supply of
                                                            7   THC oil is retaining 90% THC concentration.
                                                            8         19.    Plaintiff was engaged in the processing and wholesale distribution of
                                                            9   THC oil for Original Balboa Caregivers, an entity licensed by the State of California
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                                                           10   to conduct business in the cannabis industry.       Plaintiff managed and operated
                                                           11   Original Balboa Caregivers’ 100,000 square-foot production facility at 9419 Mason
                                                           12   Avenue, Chatsworth, California. Before entering into a business relationship with
                                                           13   Defendants, Plaintiff used the processes of flash chromatography and molecular
                                                           14   distillation to process the product.
                                                           15         20.    Defendants held themselves out as biotechnology organization that
                                                           16   utilized patented column chromatography and SMB chromatography systems to
                                                           17   purify and concentrate biopharmaceutical, chemical, and food products. Defendants
                                                           18   represented that they designed, constructed, and installed multiple commercial scale
                                                           19   column chromatography and SMB chromatography systems, including in India,
                                                           20   Peru, and at Kazmira’s facility in Colorado.
                                                           21         21.    Column chromatography is a technique used to separate the components
                                                           22   of mixtures, such as crude THC oil. The basic process of column chromatography is
                                                           23   as follows: In the mobile phase, crude THC oil is mixed with a fluid that carries it
                                                           24   through a large column, which contains a different material called the “stationary”
                                                           25   phase. The components of the mobile phase travel through the stationary phase at
                                                           26   different speeds, causing the components to separate. Simulated Moving Bed
                                                           27   chromatography (“SMB”) uses a similar process. In SMB chromatography, the
                                                           28   mobile phase travels in a continuous loop through multiple smaller columns, moving

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                                                            1   countercurrent to a constant flow of solid (stationary phase). The countercurrent flow
                                                            2   enhances the potential for the separation and makes the process more efficient.
                                                            3         22.    In May 2018, Plaintiff was approached by Gregory Rocklin, the
                                                            4   business development agent for Asha Oroskar, Anil Oroskar, Priyanka Sharma, and
                                                            5   Pulak Sharma, Orochem, and Kazmira. Mr. Rocklin represented that that
                                                            6   Defendants’ proprietary technology would upgrade Plaintiff’s existing process and
                                                            7   provide solvent-free, “full spectrum” THC oil in commercially viable quantities.
                                                            8         23.    On May 7, 2018, Gregory Rocklin sent an email to Plaintiff touting
                                                            9   Defendants’ Stevia One facility in Peru, “where we recently designed, built and
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                                                           10   started up a new operation for extraction of Stevia.” Mr. Rocklin gave a slide deck
                                                           11   to Plaintiff containing photographs of Defendants’ facility in Peru and said the
                                                           12   pictures showed a fully operational, commercial-scale SMB facility. This was
                                                           13   significant because the production process Defendants were pitching to Plaintiff is
                                                           14   substantially similar to the way Stevia is produced, where leaves of the stevia plant
                                                           15   are processed into crude oil and then purified to remove contaminants.
                                                           16         24.    Each of the Defendants represented they had a fully operational
                                                           17   production process for the production of full spectrum cannabidiol oil (“CBD”) oil
                                                           18   at their facility in Colorado, which is substantially similar to the THC oil purification
                                                           19   process Defendants were pitching to Plaintiff. Defendants operated the Colorado
                                                           20   facility under the banner of their subsidiary/partner, Kazmira. Asha Oroskar and Anil
                                                           21   Oroskar installed their daughter (Priyanka Sharma) and her husband (Pulak Sharma)
                                                           22   as chief executives of Kazmira to give the appearance that Kazmira was not
                                                           23   controlled by Asha Oroskar and Anil Oroskar. Gregory Rocklin represented to
                                                           24   Plaintiff that Kazmira was “currently processing about 150-200kg of THC-free oil
                                                           25   and isolate in total per month with revenue reaching about $2 Million per month in
                                                           26   December. The business is profitable.”
                                                           27         25.    On May 17, 2018, Pulak Sharma traveled to Los Angeles County,
                                                           28   California on behalf of Defendants and visited the offices of one of Plaintiff’s

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                                                            1   principals, H. Troy Farahmand. Pulak Sharma boasted about Defendants’
                                                            2   technology, Kazmira facility in Colorado, and active accounts. He represented that
                                                            3   Defendants could achieve the same results regarding THC oil as were achieved at the
                                                            4   Kazmira facility regarding CBD oil, meaning that Defendants represented they could
                                                            5   purify commercial quantities of crude THC oil to a minimum of 90% THC
                                                            6   concentration with non-detectable levels of pesticides, heavy metals, color,
                                                            7   phospholipids, neutral lipids, color components, solvents, or sugars, as required by
                                                            8   Cal. Code Regs. tit. 16, §§ 5000, et seq. and Cal. Code Regs. tit. 17, §§ 40200 et seq.
                                                            9   (“California Specifications”). Pulak Sharma was used as a prop by his in-laws, Asha
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                                                           10   Oroskar, and Anil Oroskar, to sell Plaintiff on the notion that Defendants’ technology
                                                           11   was fully developed and capable of performing as represented.
                                                           12         26.    Gregory Rocklin gave a slide deck to Plaintiff touting Defendants’
                                                           13   success with Kazmira. The deck stated: “Orochem’s journey to improve the quality
                                                           14   and lower the cost of Cannabinoid products began in 2016 with the formation of
                                                           15   Kazmira, LLC… Orochem Technologies developed a chromatographic method to
                                                           16   produce CBD from Industrial Hemp, which completely removes THC and enables
                                                           17   ton-level production of CBD and other high-value products. Orochem has
                                                           18   exclusively licensed this technology to Kazmira.” The deck also identified Mr.
                                                           19   Rocklin as Kazmira’s corporate development representative and a member of
                                                           20   Kazmira’s “management team.”
                                                           21         27.    On June 13, 2018, Anil Oroskar and Gregory Rocklin traveled to Los
                                                           22   Angeles County, California on behalf of Defendants and met with Plaintiff’s
                                                           23   principals at their Chatsworth facility. Anil Oroskar and Gregory Rocklin toured the
                                                           24   facility and touted Defendants’ ability to purify commercial quantities of THC oil
                                                           25   from cannabis trim, cannabis crude oil, as well as from cannabis oil that was left over
                                                           26   from other production processes, as demonstrated by Defendants’ success with
                                                           27   Kazmira and Stevia One. They represented that Defendants would use their expertise
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                                                             1   to install and operate column chromatography and SMB systems, and recommended
                                                             2   certain changes to the facility such as upgraded electrical output capability.
                                                             3         28.    In subsequent oral and written communications, Anil Oroskar and
                                                             4   Gregory Rocklin continued to assure Plaintiff that the output of Defendants’
                                                             5   processes would be finished oil containing THC purity levels of 90% or above, while
                                                             6   retaining all other cannabinoids present in the raw material. They also continued to
                                                             7   assure Plaintiff that such results would be achieved with no more than a 5% loss in
                                                             8   total mass of the raw material, and that Plaintiff would make a significant profit. This
                                                             9   was significant because loss of any more than 5% of mass during post-production
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                                                            10   would impair profitability. For example, on June 18, 2018, Anil Oroskar represented
                                                            11   that Defendants “…can work with low quality feedstocks as well. So if the whole
                                                            12   plant is cheaper then we should focus on that.” On July 20, 2018, Mr. Rocklin
                                                            13   represented that Defendants could provide “…not only an increase in margins due to
                                                            14   increase in yields and lower cost of manufacturing, but additional revenue streams
                                                            15   due to our ability to meet and greatly exceed the California specifications.”
                                                            16         29.    In July 2018, Defendants began proof-of-concept work to demonstrate
                                                            17   that its chromatography technology could be used to separate impurities from a small
                                                            18   sample of contaminated cannabis oil (“small batch test”).
                                                            19         30.    On July 17, 2018, Priyanka Sharma, Pulak Sharma, and Gregory
                                                            20   Rocklin traveled to Los Angeles County, California on behalf of Defendants and
                                                            21   visited Plaintiff’s facility. Priyanka Sharma, Pulak Sharma, and Gregory Rocklin
                                                            22   touted Defendants’ technology and its effectiveness at the Kazmira facility in
                                                            23   Colorado. Priyanka Sharma and Pulak Sharma talked about their personal experience
                                                            24   at the Kazmira facility and represented that Defendants would produce the same
                                                            25   results for Plaintiff, including THC purity levels of 90% while retaining all other
                                                            26   cannabinoids present in the raw material, losing no more than 5% of the total mass
                                                            27   of the raw material. Priyanka Sharma and Pulak Sharma were used was used as props
                                                            28   by Defendants, including their parents Asha Oroskar and Anil Oroskar, to sell

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                                                                                                     COMPLAINT
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                                                             1   Plaintiff on the notion that Defendants’ technology was fully developed and capable
                                                             2   of performing as represented by Defendants.
                                                             3         31.    On July 26, 2018, Mr. Salimpour traveled to Illinois on behalf of
                                                             4   Plaintiff to meet with Defendants. Gregory Rocklin also traveled from California to
                                                             5   Illinois and attended the meetings. Mr. Salimpour was given a presentation about
                                                             6   Orochem and Kazmira’s capabilities, as well as a tour of Orochem’s facility in
                                                             7   Illinois by Asha Oroskar and Anil Oroskar. He was also presented with the small
                                                             8   batch test results which purported to show that Defendants successfully eliminated
                                                             9   pesticides and other contaminants from the oil. Asha Oroskar and Anil Oroskar
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                                                            10   assured Mr. Salimpour that Defendants could produce the same results on a
                                                            11   commercial scale using their column chromatography and SMB chromatography
                                                            12   systems. Asha Oroskar spoke to Mr. Salimpour about her vast experience in science
                                                            13   and showed him a section of Defendants’ facility that could produce gel caps for use
                                                            14   in the production of soft get capsules. She represented that the Defendants’ existing,
                                                            15   “patented water-soluble technology” could be used in Plaintiff’s facility to make
                                                            16   beverages infused with cannabinoids such as THC and CBD. This was significant
                                                            17   because it was highly desirable to add soft get capsules and cannabis infused drinks
                                                            18   to a cannabis product line. However, Defendants never brought their soft-gel
                                                            19   manufacturing equipment or “patented water-soluble technology” to Plaintiff’s
                                                            20   facility. Defendants just dangled this and other business opportunities in front of
                                                            21   Plaintiff as part of their confidence game.
                                                            22         32.    Unbeknownst to Plaintiff, Defendants were misrepresenting their
                                                            23   capabilities and track record. The true state of affairs was that Defendants’
                                                            24   “proprietary technology” was not fully developed and Defendants’ actual intent in
                                                            25   associating with Plaintiff was to conduct research and development at Plaintiff’s
                                                            26   facility and at Plaintiff’s expense, and then abandon Plaintiff and use the fully
                                                            27   developed technology for their own purposes. When Defendants made their
                                                            28   representations to Plaintiff, Defendants knew they could not purify THC oil to the

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                                                                                                     COMPLAINT
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                                                             1   California Specifications. They knew that the column chromatography would not
                                                             2   function as promised, as it was incapable of refining the oil to 90% purity without
                                                             3   significant losses in mass during processing. Defendants also knew that the SMB
                                                             4   unit was not commercial-grade and would never actually be delivered because it
                                                             5   could not function as promised.
                                                             6         33.    This is the same scam that Defendants committed on another company,
                                                             7   Arjuna Natural Extracts (“Arjuna”), a foreign corporation with is principal place of
                                                             8   business in India. In 2015, Defendants represented to Arjuna that their SMB
                                                             9   chromatography machines could purify commercial quantities of omega-3 oils to
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                                                            10   90% purity. Based on Defendants’ representations, Arjuna contracted with
                                                            11   Defendants to provide, install, and supervise operation of a commercial grade SMB
                                                            12   unit. After Arjuna spent millions of dollars to purchase Defendants’ equipment, built
                                                            13   a new factory and purchased raw materials, Defendants installed a SMB unit at
                                                            14   Arjuna’s facility. However, it failed to purify the oil to Arjuna’s specifications.
                                                            15   Then, Defendants spent months, and millions of dollars of Arjuna’s money in an
                                                            16   unsuccessful attempt to fix the process, but all Defendants ended up doing was
                                                            17   continuing to test their nonfunctional equipment at Arjuna’s facility and at Arjuna’s
                                                            18   expense. Ultimately, however, the SMB unit was nonfunctional and unusable for the
                                                            19   purposes of purifying omega-3 oil. Arjuna discovered that Defendants did not deliver
                                                            20   the commercial grade SMB unit they promised, but rather had delivered a “pilot”
                                                            21   SMB unit with unproven functionality. Defendants refused to refund any of Arjuna’s
                                                            22   money. Arjuna sued Orochem in the United States District Court for the Northern
                                                            23   District of Illinois (Arjuna Natural Extracts v. Orochem Technologies, N.D.Ill. case
                                                            24   no. 20-1644) alleging claims for Fraud and Breach of Contract, and seeking $15
                                                            25   million in damages. The case settled in October 2020. Defendants never told
                                                            26   Plaintiff about the failed experiment with Arjuna.
                                                            27         34.    On August 3, 2018, Anil Oroskar represented to all of Plaintiff’s
                                                            28   principals that “we are able to purify using our technology the black crude into a nice

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                                                             1   looking high purity THC oil (without pesticides). We can set this system up in your
                                                             2   facility in August.”
                                                             3            35.   On August 8, 2018, Priyanka Sharma, Asha Oroskar, Anil Oroskar, and
                                                             4   Gregory Rocklin traveled to Los Angeles County, California and toured Plaintiff’s
                                                             5   facility in Chatsworth. Once again, each of them made representations about the
                                                             6   ability of Defendants’ technology to process commercial quantities of THC oil to the
                                                             7   California Specifications. Priyanka Sharma talked specifically about her personal
                                                             8   knowledge of how well Defendants’ processes worked at the Kazmira facility, which
                                                             9   gave credence to Defendants’ representations that their processes would work just as
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                                                            10   well for Plaintiff. Priyanka Sharma was used as a prop by Defendants to “seal the
                                                            11   deal.”
                                                            12            36.   In the days following the August 8, 2018 meeting, Gregory Rocklin and
                                                            13   Anil Oroskar increased the aggressiveness of their representations. On August 8,
                                                            14   2018, Mr. Rocklin represented to Plaintiff: “We have proven that we can meet the
                                                            15   required California Specifications and thereby set precedent in the state, if not the
                                                            16   country. Moreover, we have proven time and time again that we can scale up to any
                                                            17   required volumes with appropriate capital, and improve economies at each level.”
                                                            18   On August 11, 2018, Mr. Rocklin represented to Plaintiff: “…Orochem can make a
                                                            19   substantial impact on yield and quality by implementing our cannabinoid-specific
                                                            20   process, and we are willing to structure the deal to guarantee it. As I’m sure you
                                                            21   understand, the greater yield will have a direct and immediate impact on your raw
                                                            22   material expense, cash flow and profitability.” (emphasis in original). On August 12,
                                                            23   2018, Anil Oroskar represented that Defendants “have the technology to make SSL
                                                            24   the largest THC-Oil producer in California...perhaps the world.”
                                                            25            37.   In reliance on Defendants’ false representations and concealment of
                                                            26   material facts, Plaintiff entered into a business venture with Defendants whereby
                                                            27   Plaintiff would supply the facilities and raw materials and capital, and Defendants
                                                            28   would install and operate their column chromatography and SMB chromatography

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                                                             1   machines to create 90% pure THC oil with no impurities in accordance with the
                                                             2   California Specifications. Defendants would own all manufacturing-related
                                                             3   intellectual property developed during the course of the parties’ engagement.
                                                             4   Defendants would also receive 20% of the profits from the sale of products produced.
                                                             5   Anil Oroskar wrote an email to Plaintiff, Asha Oroskar, Priyanka Sharma, Pulak
                                                             6   Sharma, and Gregory Rocklin congratulating everyone on the business venture.
                                                             7         38.    In November 2018, Defendants installed their equipment in Plaintiff’s
                                                             8   facility, which would be operated by Defendants’ technicians. Significantly,
                                                             9   Defendants installed large column chromatography units but did not install SMB
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                                                            10   chromatography units. Defendants promised that the column chromatography units
                                                            11   could produce THC oil that met the required specifications and that the SMB unit
                                                            12   could be installed at a later time. However, delivering the SMB at a later time was
                                                            13   not part of the deal. Ultimately, Defendants refused to deliver the SMB unless
                                                            14   Plaintiff paid extra for it, and the SMB was never delivered.
                                                            15         39.    In reliance on Defendants’ representations, Plaintiff spent $3.5 million
                                                            16   to build-out its Chatsworth production facility to comply with Defendants’
                                                            17   manufacturing requirements. Plaintiff updated the facility to include additional
                                                            18   electrical capabilities and ventilation, including building-out nine manufacturing
                                                            19   suites that each had its own power supply, ventilation, and security system. Plaintiff
                                                            20   also contributed $500,000 worth of unprocessed crude cannabis oil for the first
                                                            21   production run (“batch”).
                                                            22         40.    Defendants were unable to meet the production specifications on the
                                                            23   first batch. Nonetheless, Defendants did not install the SMB. Instead, Defendants
                                                            24   tried to fix the problem by placing the output of the first batch through the column
                                                            25   chromatography units several additional times, but Defendants were still unable to
                                                            26   meet the production specifications and much of the oil’s mass was lost in the process.
                                                            27         41.    Defendants repeatedly represented they could meet the agreed-upon
                                                            28   specifications. In reliance on these representations, Plaintiff purchased additional,

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                                                             1   unprocessed oil for the second, third, and fourth batches between September 2018
                                                             2   and December 2018. However, Defendants were still unable to meet the production
                                                             3   specifications. Plaintiff also lost the opportunity to process the oil using methods it
                                                             4   employed prior to entering into a joint venture with Defendants.
                                                             5         42.    In December 2018, Defendants performed another small batch test and
                                                             6   reported to Plaintiff that the sample contained 90% THC, in addition to other
                                                             7   cannabinoids, and zero pesticides. However, once again, Defendants were unable to
                                                             8   replicate this result on a larger scale. Nonetheless, Defendants did not install the
                                                             9   SMB. Defendants continued to attempt to fix the problem by placing the output
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                                                            10   through the column chromatography units several additional times, but Defendants
                                                            11   were still unable to meet the production specifications. The total mass of the oil
                                                            12   ultimately produced by Defendants’ processes was significantly lower than
                                                            13   promised, which destroyed the profitability of the oil for Plaintiff, and Defendants
                                                            14   took longer than promised to produce this insufficient quantity of oil. Then Plaintiff
                                                            15   was forced to sell lower quantities of product at a loss. Plaintiff lost clients as well
                                                            16   as credibility in the California cannabis market due to the delays and inability to
                                                            17   provide finished goods in time.
                                                            18         43.    In December 2018, Defendants demanded that Plaintiff contribute
                                                            19   towards the purchase of additional equipment to augment Defendants’ existing (non-
                                                            20   functional) system. Plaintiff agreed to contribute $75,000 towards a commercial
                                                            21   grade solvent recovery system while adding additional electrical upgrades to
                                                            22   accommodate the new unit. Plaintiff spent $25,000 on electrical upgrades to the
                                                            23   production facility.
                                                            24         44.    On December 27, 2018, at Defendants’ request, Plaintiff (in California)
                                                            25   wired $75,000 to Orochem (in Illinois).
                                                            26         45.    In January and February 2019, Defendants were unable to meet the
                                                            27   production specifications for the fifth and sixth batches. Plaintiff purchased
                                                            28   additional, unprocessed raw materials for these batches. Plaintiff also worked with

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                                                             1   Defendants’ technicians and continued to expend money to run trials and generate
                                                             2   data that could be used to fix the production process. However, despite giving
                                                             3   Defendants ample time and many opportunities to bring the column chromatography
                                                             4   units into a conforming, functional state, Defendants failed to ever provide any
                                                             5   column chromatography units that functioned as promised.
                                                             6         46.    On March 25, 2019, Anil Oroskar proposed a plan to fix the problems
                                                             7   with Defendants’ equipment and make Plaintiff “the largest Cannabis facility in the
                                                             8   world.” However, in order to do so, Plaintiff needed to contribute several million
                                                             9   more dollars to get the SMB unit that was supposed to be provided at the outset. Anil
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                                                            10   Oroskar proposed the installation of a “pilot scale SMB which will produce higher
                                                            11   purity oils at about 10kg per day production rate…. We will also install a NF
                                                            12   membrane Unit which will allow simplification and scale up of extraction. This unit
                                                            13   is being built currently. In order to expand production volumes to 100kg per day we
                                                            14   will have to purchase a larger SMB which costs about $3M. See below. If you can
                                                            15   allocate this capex we can install this SMB right away. Once we install large scale
                                                            16   SMB and NF Membrane Units then the Shoolin‐SSL Facility will have world‐class
                                                            17   THC technology. It will become the largest Cannabis facility in the world.”
                                                            18         47.    From approximately mid-2018 through late 2019, Gregory Rocklin
                                                            19   traveled to the Chatsworth facility and met with Plaintiff at least once per month.
                                                            20   Each time, Mr. Rocklin assured Plaintiff that Defendants’ processes would produce
                                                            21   the results promised by Defendants, if Plaintiff continued to contribute capital.
                                                            22         48.    On March 27, 2019, Anil Oroskar and Gregory Rocklin traveled to Los
                                                            23   Angeles County, California to meet with Plaintiff at the Chatsworth facility and
                                                            24   discuss the proposal. In reliance on Anil Oroskar’s misrepresentations about
                                                            25   Defendants’ ability to fix the problems, Plaintiff agreed to contribute more capital
                                                            26   towards the purchase of additional equipment to augment Defendants’ existing (non-
                                                            27   functional) system.
                                                            28

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                                                             1          49.    On April 12, 2019, at Defendants’ request, Plaintiff (in California) wired
                                                             2   $56,000 to Orochem (in Illinois).
                                                             3          50.    In May 2019 and June 2019, Anil Oroskar pitched ideas to increase
                                                             4   Plaintiff’s profitability by creating cannabis-infused drinks and soft gel capsules,
                                                             5   which are the same business opportunities that Asha Oroskar dangled in front of
                                                             6   Plaintiff in the past. Additionally, Gregory Rocklin pitched ideas for expanding the
                                                             7   business relationship between Plaintiff and Defendants that would supposedly
                                                             8   generate huge profits. However, once again, Defendants did not follow through.
                                                             9          51.    By July 2019, as a result of Defendants’ stalling, evasiveness, and
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                                                            10   unfulfilled promises, Plaintiff realized for the first time that it had been defrauded.
                                                            11   At this point, it was apparent that Defendants misrepresented the capabilities of their
                                                            12   “proprietary technology,” misrepresented their proficiency in purifying cannabis oil,
                                                            13   misrepresented that a commercial SMB unit would never be delivered, and concealed
                                                            14   that Defendants’ true intent was to conduct research and development at Plaintiff’s
                                                            15   facility and at Plaintiff’s expense, among other things.
                                                            16          52.    By August 2019, Defendants had processed eighteen batches, for which
                                                            17   Plaintiff contributed $1,900,000 worth of raw materials. However, Defendants never
                                                            18   met production specifications at the appropriate volume. Even though Defendants
                                                            19   never performed their obligations, Defendants continued to demand payments from
                                                            20   Plaintiff.
                                                            21          53.    On August 30, 2019, Defendants notified Plaintiff that they were
                                                            22   terminating their business relationship with Plaintiff.
                                                            23          54.    On October 8, 2019, Defendants removed their machines from
                                                            24   Plaintiff’s facility.
                                                            25          55.    Plaintiff’s reputation was damaged, its’ personnel quit, and Original
                                                            26   Balboa Caregivers ceased operations in October 2019.
                                                            27          56.    On June 17, 2020, Kazmira obtained $50 million in funding from
                                                            28   Perrigo Company plc.

                                                                                                           16
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                                                             1                                 FIRST CAUSE OF ACTION
                                                             2                             Violation of RICO (18 U.S.C. §1962(c))
                                                             3                (Plaintiff against Defendants Asha Oroskar, Anil Oroskar,
                                                             4       Priyanka Sharma, Pulak Sharma, Gregory Rocklin and DOES 1 to 10)
                                                             5          57.    Plaintiff refers to and incorporates paragraphs 1 through 56 as though
                                                             6   fully set forth herein.
                                                             7          58.    Defendants Asha Oroskar, Anil Oroskar, Priyanka Sharma, Pulak
                                                             8   Sharma, and Gregory Rocklin are each a person within the meaning of 18 U.S.C.
                                                             9   §§1961(3) and 1962(c).
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                                                            10          59.    Beginning in at least May 2018 and continuing through at least October
                                                            11   2019, Defendants Asha Oroskar, Anil Oroskar, Priyanka Sharma, Pulak Sharma, and
                                                            12   Gregory Rocklin were associated in fact in and with an enterprise which conducted
                                                            13   its affairs through a pattern of racketeering activity, and whose conduct and activities
                                                            14   affected interstate and foreign commerce.
                                                            15          60.    The enterprise (“Orochem Kazmira RICO Group”) consists of
                                                            16   Defendants Asha Oroskar, Anil Oroskar, Priyanka Sharma, Pulak Sharma, and
                                                            17   Gregory Rocklin. Defendants Asha Oroskar, Anil Oroskar, Priyanka Sharma, Pulak
                                                            18   Sharma, and Gregory Rocklin agreed to and did conduct the affairs of the Orochem
                                                            19   Kazmira RICO Group enterprise through a pattern of racketeering for the unlawful
                                                            20   purpose unlawful purpose of deceiving and defrauding Plaintiff and other victim
                                                            21   companies into funding their research and development activities, then abandoning
                                                            22   the victim companies and using the fully developed technology for their own
                                                            23   purposes.
                                                            24          61.    Alternatively, the enterprise is Orochem, and consists of Defendants
                                                            25   Asha Oroskar, Anil Oroskar, Priyanka Sharma, Pulak Sharma, and Gregory Rocklin,
                                                            26   who agreed to and did conduct the affairs of Orochem through a pattern of
                                                            27   racketeering for the unlawful purpose of deceiving and defrauding Plaintiff and other
                                                            28   victim companies into funding their research and development activities, then

                                                                                                            17
                                                                                                       COMPLAINT
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                                                             1   abandoning the victim companies and using the fully developed technology for their
                                                             2   own purposes.
                                                             3         62.    Alternatively, the enterprise is Kazmira, and consists of Defendants
                                                             4   Asha Oroskar, Anil Oroskar, Priyanka Sharma, Pulak Sharma, and Gregory Rocklin,
                                                             5   who agreed to and did conduct the affairs of Kazmira through a pattern of
                                                             6   racketeering for the unlawful purpose of deceiving and defrauding Plaintiff and other
                                                             7   victim companies into funding their research and development activities, then
                                                             8   abandoning the victim companies and using the fully developed technology for their
                                                             9   own purposes.
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                                                            10         63.    Pursuant to and in furtherance of their fraudulent scheme, the Orochem
                                                            11   Kazmira RICO Group and/or Orochem and/or Kazmira committed multiple related
                                                            12   acts which include acts in violation of: (i) 18 U.S.C. § 1343 (wire fraud); and (ii)
                                                            13   causing the transportation of persons and money having a value of $5,000 or more in
                                                            14   interstate commerce by means of fraud (18 U.S.C. § 2314).
                                                            15         64.    The predicate acts alleged herein occurred after the effective date of 18
                                                            16   U.S.C. §1961, et. seq. and the last such act occurred within ten years after
                                                            17   commission of a prior act of racketeering activity. These racketeering activities
                                                            18   include repeated acts of:
                                                            19               a)     Wire Fraud – 18 U.S.C. §1343 - The Orochem Kazmira RICO
                                                            20   Group and/or Orochem and/or Kazmira devised, and intended to devise, a scheme to
                                                            21   defraud and to obtain money and property by means of false and fraudulent pretenses,
                                                            22   representations and promises. For the purpose of executing their schemes to defraud
                                                            23   and attempting to do so, the Orochem Kazmira RICO Group and/or Orochem and/or
                                                            24   Kazmira did transmit and caused to be transmitted writings for the purpose of
                                                            25   executing a scheme to defraud by means of wire communications in interstate
                                                            26   commerce.
                                                            27               b)     Transportation of Funds In Interstate Commerce Obtained By
                                                            28   Fraud - 18 U.S.C. §2314 - The Orochem Kazmira RICO Group and/or Orochem

                                                                                                          18
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                                                             1   and/or Kazmira solicited and accepted transfers of money in interstate commerce,
                                                             2   knowing the same to have been taken by fraud.
                                                             3               c)     Inducing a Person to Travel in Interstate Commerce in Execution
                                                             4   of a Fraudulent Scheme - 18 U.S.C. §2314 - The Orochem Kazmira RICO Group
                                                             5   and/or Orochem and/or Kazmira induced Plaintiff to engage in interstate travel from
                                                             6   California to Illinois in furtherance of a scheme to defraud.
                                                             7         65.    Based on the limited information to date available to Plaintiff at this
                                                             8   time, there are hundreds of predicate acts committed by the Orochem Kazmira RICO
                                                             9   Group and/or Orochem and/or Kazmira. Examples include:
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                                                            10         66.    Examples of Defendants’ Use of Interstate Wire Communications -
                                                            11   Each email below constitutes a transmission, writing, sign or signal by means of
                                                            12   interstate or foreign commerce sent in furtherance of the scheme to defraud.
                                                            13
                                                                  Date       Description                            Sender       Recipients
                                                            14    Aug 3,     “We are able to purify using our       Anil         Pedram Salimpour
                                                                  2018       technology the black crude into a      Oroskar      Michael Yedidsion
                                                            15
                                                                             nice looking high purity THC oil       (Illinois)   Troy Farahmand
                                                            16               (without Pesticides). We can set                    Bob Kashani
                                                                             this system up in your facility in                  Gregory Rocklin
                                                            17
                                                                             August.” (emphasis in original).                    (California)
                                                            18

                                                            19
                                                                                                                                 Asha Oroskar
                                                                                                                                 Michael Layden
                                                            20                                                                   (Illinois)
                                                            21
                                                                  Nov 1,     “Currently, oil we can produce         Priyanka     Anil Oroskar
                                                                  2018       from hemp has 3%+ CBG, 50%+            Sharma       Asha Oroskar
                                                            22               CBD, and THC‐free!”                    (Colorado)   Mike Layden
                                                            23
                                                                                                                                 (Illinois)

                                                            24                                                                   Gregory Rocklin
                                                            25
                                                                                                                                 (California)

                                                            26    Aug 12,    “We have the technology to make        Anil         Pedram Salimpour
                                                            27    2018       SSL the largest THC-Oil producer       Oroskar      Michael Yedidsion
                                                                             in California... perhaps the world.    (Illinois)   Troy Farahmand
                                                            28               We have good chemistry between                      Gregory Rocklin
                                                                                                          19
                                                                                                     COMPLAINT
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                                                                             the stake holders on both sides.                    (California)
                                                             1
                                                                             We both have enough funds to
                                                             2               make this happen. Orochem has in
                                                                             the pipeline some of best CBD and
                                                             3
                                                                             THC formulations including water
                                                             4               soluble and soft gels which we can
                                                                             bring to SSL.”
                                                             5
                                                                  Aug 11,    “Orochem can make a substantial        Gregory      Anil Oroskar
                                                             6    2018       impact on yield and quality by         Rocklin      Asha Oroskar
                                                             7
                                                                             implementing our cannabinoid-          (California) (Illinois)
                                                                             specific process, and we are willing
                                                             8               to structure the deal to guarantee                  Pedram Salimpour
                                                             9
                                                                             it. As I’m sure you understand, the                 Michael Yedidsion
                                                                             greater yield will have a direct and                Troy Farahmand
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                                                            10               immediate impact on your raw                        (California)
                                                            11
                                                                             material expense, cash flow and
                                                                             profitability.” (emphasis in
                                                            12               original)
                                                            13
                                                                  July 31,   “Our technology can do both:           Anil         Pedram Salimpour
                                                                  2018       Retain THCA but also can convert       Oroskar      Michael Yedidsion
                                                            14               it to THC and make remediated          (Illinois)   Troy Farahmand
                                                            15
                                                                             oil.”                                               Bob Kashani
                                                                                                                                 Gregory Rocklin
                                                            16                                                                   (California)
                                                            17    June 24, “Greetings from Honolulu….. 1.        Anil            Priyanka Sharma
                                                                  2018     Orochem has a history of              Oroskar         Pulak Sharma
                                                            18             engagement with customers on          (Hawaii)        (Colorado)
                                                            19             exclusive relationship e.g. Omega-
                                                                           3 with BASF, Krill PL with Aker,                      Pedram Salimpour
                                                            20             Stevia Glycosides with Stevia                         Michael Yedidsion
                                                            21             One…etc. 2. Orochem has always                        Troy Farahmand
                                                                           obtained a strong IP position in                      Bob Kashani
                                                            22             whichever molecule it develops                        Gregory Rocklin
                                                            23             and commercializes on large scale.                    (California)
                                                                           3. Orochem’s SMB technology is
                                                            24             fully scaleable and is very difficult                 Gautham Oroskar
                                                            25             to duplicate (very strong barrier to                  (Illinois)
                                                                           entry). 4. Orochem provides fully
                                                            26
                                                                           vertically integrated work process:
                                                            27             R&D, Engineering, Fabrication,
                                                                           Installation, and Comissioning. 5.
                                                            28
                                                                           Orochem provides the highest level
                                                                                                         20
                                                                                                    COMPLAINT
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                                                                           of analytical capabilities…”
                                                             1
                                                                  June 14, “I do believe that there is a lot of      Anil          Priyanka Sharma
                                                             2    2018     synergy of your plans for the             Oroskar       Pulak Sharma
                                                                           facility with Orochem’s extraction        (Illinois)    (Colorado)
                                                             3
                                                                           and purification technology.”
                                                             4                                                                     Pedram Salimpour
                                                                                                                                   Michael Yedidsion
                                                             5
                                                                                                                                   Troy Farahmand
                                                             6                                                                     Bob Kashani
                                                             7
                                                                                                                                   Gregory Rocklin
                                                                                                                                   (California)
                                                             8
                                                                        67.   Examples of Defendants’ Transportation of Funds In Interstate
                                                             9
                                                                 Commerce Obtained By Fraud - Each entry below describes a payment sent by
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                                                            10
                                                                 Plaintiff in California to Defendants in Illinois, due to the fraud:
                                                            11

                                                            12
                                                                  Date           Recipient                Details                           Amount
                                                                  Dec 27, 2018   Orochem                  Domestic wire transfer            $75,000
                                                            13                   Technologies, Inc.       from Plaintiff
                                                            14    April 12, 2019 Orochem                  Domestic wire transfer            $56,000
                                                                                 Technologies, Inc.       from Plaintiff
                                                            15
                                                                        68.   Defendants’ induced Plaintiff to engage in interstate travel in the
                                                            16
                                                                 execution of a scheme to defraud when they caused Mr. Salimpour to fly to Illinois
                                                            17
                                                                 on behalf of Plaintiff to meet with Defendants in Illinois on July 26, 2018.
                                                            18
                                                                        69.   Based upon the allegations in Arjuna Natural Extracts v. Orochem
                                                            19
                                                                 Technologies, N.D.Ill. case no. 20-1644), the Orochem Kazmira RICO Group and/or
                                                            20
                                                                 Orochem and/or Kazmira also victimized other companies in a manner similar to
                                                            21
                                                                 Plaintiff.   On information and belief, interstate and/or international wire
                                                            22
                                                                 transmissions, as well as interstate and/or international transfers of funds occurred in
                                                            23
                                                                 commission of those frauds.
                                                            24
                                                                        70.   Defendants Asha Oroskar, Anil Oroskar, Priyanka Sharma, Pulak
                                                            25
                                                                 Sharma, and Gregory Rocklin each had a role in the racketeering enterprise that was
                                                            26
                                                                 distinct from the Orochem Kazmira RICO Group and/or Orochem and/or Kazmira.
                                                            27

                                                            28

                                                                                                           21
                                                                                                      COMPLAINT
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                                                             1         71.    Plaintiff’s business and property were injured as a direct and proximate
                                                             2   result of the Orochem Kazmira RICO Group and/or Orochem and/or Kazmira’s
                                                             3   violations of 18 U.S.C. § 1962(c), including by reason of the predicate acts
                                                             4   constituting the pattern of racketeering injury, as alleged with greater particularity in
                                                             5   the foregoing paragraphs.
                                                             6         72.    As a result of the Orochem Kazmira RICO Group and/or Orochem
                                                             7   and/or Kazmira’s violations of 18 U.S.C § 1962(c), Plaintiff suffered substantial
                                                             8   damages, in an amount to be proved at trial. Pursuant to 18 U.S.C. § 1964(c), Plaintiff
                                                             9   is entitled to recover treble its general and special compensatory damages, plus
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                                                            10   interest, costs and attorney fees incurred by reason of the Orochem Kazmira RICO
                                                            11   Group and/or Orochem and/or Kazmira’s violations of 18 U.S.C. § 1962(c).
                                                            12

                                                            13                             SECOND CAUSE OF ACTION
                                                            14                   Conspiracy to Violate RICO (18 U.S.C. §1962(d))
                                                            15               (Plaintiff against Defendants Asha Oroskar, Anil Oroskar,
                                                            16       Priyanka Sharma, Pulak Sharma, Gregory Rocklin, and DOES 1 to 10)
                                                            17         73.    Plaintiff repeats and re-alleges each and every allegation contained in
                                                            18   paragraphs 1 through 72 and incorporate them herein by reference.
                                                            19         74.    Defendants Asha Oroskar, Anil Oroskar, Priyanka Sharma, Pulak
                                                            20   Sharma, and Gregory Rocklin have unlawfully, knowingly, and willfully combined,
                                                            21   conspired, confederated, and agreed together and with others to violate 18 U.S.C.
                                                            22   §1962(c) as described above, in violation of 18 U.S.C. §1962(d).
                                                            23         75.    By and through each of their close business relationships, and their close
                                                            24   coordination with one another in the affairs of Orochem Kazmira RICO Group and/or
                                                            25   Orochem and/or Kazmira, Defendants Asha Oroskar, Anil Oroskar, Priyanka
                                                            26   Sharma, Pulak Sharma, and Gregory Rocklin knew the nature of the Orochem
                                                            27   Kazmira RICO Group and/or Orochem and/or Kazmira and knew that the Orochem
                                                            28   Kazmira RICO Group and/or Orochem and/or Kazmira extended beyond their

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                                                             1   individual roles.    Moreover, through the same connections and coordination,
                                                             2   Defendants Asha Oroskar, Anil Oroskar, Priyanka Sharma, Pulak Sharma, and
                                                             3   Gregory Rocklin knew that they were engaged in a conspiracy to commit predicate
                                                             4   acts, including those set forth herein, and that the predicate acts were part of a pattern
                                                             5   of racketeering activity, and each agreed to pursue the same criminal objective.
                                                             6          76.    Defendants Asha Oroskar, Anil Oroskar, Priyanka Sharma, Pulak
                                                             7   Sharma, and Gregory Rocklin agreed to facilitate, conduct, and participate in the
                                                             8   conduct, management, or operation of the enterprise’s affairs through a pattern of
                                                             9   racketeering activity in violation of 18 U.S.C. §1962(d). The participation and
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                                                            10   agreement of each of them was necessary to allow the commission of this pattern of
                                                            11   activity.
                                                            12          77.    Plaintiff has been injured in its business and property by reason of the
                                                            13   Defendants Asha Oroskar, Anil Oroskar, Priyanka Sharma, Pulak Sharma, and
                                                            14   Gregory Rocklin’s violations of 18 U.S.C. §1962(d), in an amount to be determined
                                                            15   at trial. The injuries to Plaintiff directly, proximately, and reasonably foreseeably
                                                            16   resulting from or caused by these violations include, but are not limited to, lost
                                                            17   profits, harm to reputation, competitive harm, attorneys’ fees and costs, including the
                                                            18   attorneys’ fees and costs associated with exposing and prosecuting these RICO
                                                            19   defendants’ activities.
                                                            20          78.    Pursuant to 18 U.S.C. §1964(c), Plaintiff is entitled to recover treble
                                                            21   damages, plus costs and attorneys’ fees.
                                                            22

                                                            23                                 THIRD CAUSE OF ACTION
                                                            24                             Fraud – Intentional Misrepresentation
                                                            25                   (Plaintiff against all Defendants and DOES 1 to 10)
                                                            26          79.    Plaintiff refers to and incorporates paragraphs 1 through 56 as though
                                                            27   fully set forth herein.
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                                                                                                       COMPLAINT
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                                                             1         80.    On May 17, 2018, Pulak Sharma traveled to Los Angeles County,
                                                             2   California on behalf of Defendants and visited the offices of one of Plaintiff’s
                                                             3   principals, H. Troy Farahmand, on behalf of Defendants. Pulak Sharma boasted
                                                             4   about Defendants’ technology, Kazmira facility in Colorado, and active accounts. He
                                                             5   represented that Defendants could achieve the same results regarding THC oil as
                                                             6   were achieved at the Kazmira facility regarding CBD oil, meaning that Defendants
                                                             7   represented could purify commercial quantities of crude THC oil to a minimum of
                                                             8   90% THC concentration with non-detectable levels of pesticides, heavy metals,
                                                             9   color, phospholipids, neutral lipids, color components, and sugars, as required by Cal.
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                                                            10   Code Regs. tit. 16, §§ 5000, et seq. and Cal. Code Regs. tit. 17, §§ 40200 et seq.
                                                            11   (“California Specifications”).
                                                            12         81.    On June 13, 2018, Anil Oroskar and Gregory Rocklin traveled to Los
                                                            13   Angeles County, California on behalf of Defendants and met with Plaintiff’s
                                                            14   principals at their Chatsworth facility. Anil Oroskar and Gregory Rocklin toured the
                                                            15   facility and touted Defendants’ ability to purify commercial quantities of THC oil
                                                            16   from cannabis trim, cannabis crude oil, as well as from cannabis oil that was left over
                                                            17   from other production processes, as demonstrated by Defendants’ success with
                                                            18   Kazmira and Stevia One. They represented that Defendants would use their expertise
                                                            19   to install and operate column chromatography and SMB systems, and recommended
                                                            20   certain changes to the facility such as upgraded electrical output capability.
                                                            21         82.    In subsequent oral and written communications, Anil Oroskar and
                                                            22   Gregory Rocklin continued to assure Plaintiff that the output of their processes would
                                                            23   be finished oil containing THC purity levels of 90% or above, while retaining all
                                                            24   other cannabinoids present in the raw material. They also represented such results
                                                            25   would be achieved with no more than a 5% loss in total mass of the raw material, and
                                                            26   that Plaintiff would make a significant profit. This was significant because loss of
                                                            27   any more than 5% of mass during post-production would impair profitability. For
                                                            28   example, on June 18, 2018, Anil Oroskar represented that Defendants “…can work

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                                                                                                     COMPLAINT
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                                                             1   with low quality feedstocks as well. So if the whole plant is cheaper then we should
                                                             2   focus on that.” On July 20, 2018, Mr. Rocklin represented that Defendants could
                                                             3   provide “…not only an increase in margins due to increase in yields and lower cost
                                                             4   of manufacturing, but additional revenue streams due to our ability to meet and
                                                             5   greatly exceed the California specifications.”
                                                             6         83.    On July 17, 2018, Priyanka Sharma, Pulak Sharma, and Gregory
                                                             7   Rocklin traveled to Los Angeles County, California on behalf of Defendants and
                                                             8   visited Plaintiff’s facility. Priyanka Sharma, Pulak Sharma, and Gregory Rocklin
                                                             9   boasted about Defendants’ technology and its effectiveness at Kazmira facility in
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                                                            10   Colorado. Priyanka Sharma and Pulak Sharma talked about their personal experience
                                                            11   at the Kazmira facility and represented that Defendants would produce the same
                                                            12   results for Plaintiff, including THC purity levels of 90% while retaining all other
                                                            13   cannabinoids present in the raw material, losing no more than 5% of the total mass
                                                            14   of the raw material.
                                                            15         84.    On July 26, 2018, Mr. Salimpour traveled to Illinois on behalf of
                                                            16   Plaintiff to meet with Defendants. Gregory Rocklin also traveled from California to
                                                            17   Illinois and attended the meetings. Mr. Salimpour was given a presentation about
                                                            18   Orochem and Kazmira’s capabilities, as well as a tour of Orochem’s facility in
                                                            19   Illinois by Asha Oroskar and Anil Oroskar. He was also presented with the small
                                                            20   batch test results which purported to show that Defendants successfully eliminated
                                                            21   pesticides and other contaminants from the oil. Asha Oroskar and Anil Oroskar
                                                            22   assured Mr. Salimpour that Defendants could produce the same results on a
                                                            23   commercial scale using their column chromatography and SMB chromatography
                                                            24   systems. Asha Oroskar spoke to Mr. Salimpour about her vast experience in science
                                                            25   and showed him a section of Defendants’ facility that could produce gel caps for use
                                                            26   in the production of soft get capsules. She represented that the Defendants’ existing,
                                                            27   “patented water-soluble technology” could be used in Plaintiff’s facility to make
                                                            28   beverages infused with cannabinoids such as THC and CBD. This was significant

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                                                             1   because it was highly desirable to add soft get capsules and cannabis infused drinks
                                                             2   to a cannabis product line. However, Defendants never brought their soft-gel
                                                             3   manufacturing equipment or “patented water-soluble technology” to Plaintiff’s
                                                             4   facility. Defendants just dangled this and other business opportunities in front of
                                                             5   Plaintiff as part of their confidence game.
                                                             6            85.   On August 3, 2018, Anil Oroskar represented to all of Plaintiff’s
                                                             7   principals that “we are able to purify using our technology the black crude into a nice
                                                             8   looking high purity THC oil (without pesticides). We can set this system up in your
                                                             9   facility in August.”
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                                                            10            86.   On August 8, 2018, Priyanka Sharma, Asha Oroskar, Anil Oroskar, and
                                                            11   Gregory Rocklin traveled to Los Angeles County, California and toured Plaintiff’s
                                                            12   facility in Chatsworth. Once again, each of them made representations about the
                                                            13   ability of Defendants’ technology to process commercial quantities of THC oil to the
                                                            14   California Specifications. Priyanka Sharma talked specifically about her personal
                                                            15   knowledge of how well Defendants’ processes worked at the Kazmira facility, which
                                                            16   gave credence to Defendants’ representations that their processes would work just as
                                                            17   well for Plaintiff. Priyanka Sharma was used as a prop by Defendants to “seal the
                                                            18   deal.”
                                                            19            87.   In the days following the August 8, 2018 meeting, Gregory Rocklin and
                                                            20   Anil Oroskar increased the aggressiveness of their representations. On August 8,
                                                            21   2018, Mr. Rocklin represented to Plaintiff: “We have proven that we can meet the
                                                            22   required California Specifications and thereby set precedent in the state, if not the
                                                            23   country. Moreover, we have proven time and time again that we can scale up to any
                                                            24   required volumes with appropriate capital, and improve economies at each level.”
                                                            25   On August 11, 2018, Mr. Rocklin represented to Plaintiff: “…Orochem can make a
                                                            26   substantial impact on yield and quality by implementing our cannabinoid-specific
                                                            27   process, and we are willing to structure the deal to guarantee it. As I’m sure you
                                                            28   understand, the greater yield will have a direct and immediate impact on your raw

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                                                             1   material expense, cash flow and profitability.” (emphasis in original). On August 12,
                                                             2   2018, Anil Oroskar represented that Defendants “have the technology to make SSL
                                                             3   the largest THC-Oil producer in California...perhaps the world.”
                                                             4         88.    When Defendants made these false representations to Plaintiff, they
                                                             5   knew the representations were false or make the representations recklessly and
                                                             6   without regard for the truth. Defendants knew that their “proprietary technology”
                                                             7   was not fully developed, knew they could not purify THC oil to the California
                                                             8   Specifications, knew that the column chromatography would not function as
                                                             9   promised, as it was incapable of refining the oil to 90% purity without significant
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                                                            10   losses in mass during processing, and knew that the SMB unit was not commercial-
                                                            11   grade and would never actually be delivered because it could not function as
                                                            12   promised.
                                                            13         89.    Defendants intended that Plaintiff would rely on their representations.
                                                            14   Defendants’ actual intent in associating with Plaintiff was to conduct research and
                                                            15   development at Plaintiff’s facility and at Plaintiff’s expense, then abandoning
                                                            16   Plaintiff and use the fully developed technology for their own purposes.
                                                            17         90.    In reliance on Defendants’ misrepresentations, Plaintiff conducted
                                                            18   business with Defendants, built-out its Chatsworth production facility to comply with
                                                            19   Defendants’ manufacturing requirements, and purchased unprocessed crude cannabis
                                                            20   oil for production batches. If Plaintiff had known the truth of Defendants’ secret
                                                            21   intention not to perform as promised, it would have done business with Defendants.
                                                            22   Plaintiff was ignorant of the falsity of Defendants’ representations, and could not
                                                            23   have in the exercise of reasonable diligence discovered the falsity of Defendants’
                                                            24   representations.
                                                            25         91.    On August 30, 2019, Defendants notified Plaintiff that it was
                                                            26   terminating their business relationship. Defendants never purified the agreed-upon
                                                            27   quantities of THC oil to the specifications required by California law, never replaced
                                                            28   the nonfunctioning column chromatography units, and never delivered the SMB unit.

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                                                             1          92.    As a direct and proximate result of Defendants’ misrepresentations and
                                                             2   Plaintiff’s reasonable reliance thereon, Plaintiff was damaged in an amount according
                                                             3   to proof at trial. Plaintiff stopped performing operating its profitable business, built-
                                                             4   out its Chatsworth production facility to comply with Defendants’ manufacturing
                                                             5   requirements, and purchased unprocessed crude cannabis oil for production batches.
                                                             6   Plaintiff was unable to make the profits that Defendants forecasted and spent
                                                             7   resources developing beverage and soft gel product lines that never materialized.
                                                             8          93.    Defendants’     misrepresentations     were     fraudulent,     malicious,
                                                             9   unconscionable and oppressive, and were undertaken with conscious disregard for
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                                                            10   Plaintiff’s well-being. Therefore, these actions entitle Plaintiff to an award of an
                                                            11   exemplary and punitive damages in an amount appropriate to punish or make an
                                                            12   example of Defendants according to proof.
                                                            13

                                                            14                             FOURTH CAUSE OF ACTION
                                                            15                                 Fraudulent Concealment
                                                            16                   (Plaintiff against all Defendants and DOES 1 to 10)
                                                            17          94.    Plaintiff refers to and incorporates paragraphs 1 through 56 as though
                                                            18   fully set forth herein.
                                                            19          95.    Defendants concealed from Plaintiff that their “proprietary technology”
                                                            20   was not fully developed, they could not purify THC oil to the specifications required
                                                            21   by California law, that the column chromatography would not function as promised,
                                                            22   and that the SMB unit was not commercial-grade and would never actually be
                                                            23   delivered. Defendants concealed material facts with the intent to induce Plaintiff to
                                                            24   do business with Defendants, build-out its Chatsworth production facility to comply
                                                            25   with Defendants’ manufacturing requirements, and purchase unprocessed crude
                                                            26   cannabis oil for production batches.
                                                            27          96.    Plaintiff was ignorant of the facts concealed by Defendants and could
                                                            28   not have in the exercise of reasonable diligence discovered the Defendants’

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                                                             1   concealment. If Plaintiff had known the facts concealed by Defendants, it would
                                                             2   have done business with Defendants.
                                                             3          97.    As a result of Defendants’ concealment, Plaintiff also stopped
                                                             4   performing operating its profitable business, built-out its Chatsworth production
                                                             5   facility to comply with Defendants’ manufacturing requirements, and purchased
                                                             6   unprocessed crude cannabis oil for production batches. Plaintiff was unable to make
                                                             7   the profits that Defendants forecasted and spent resources developing beverage and
                                                             8   soft gel product lines that never materialized. Defendants’ concealment was a
                                                             9   significant factor in the harm suffered by Plaintiff.
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                                                            10          98.    Defendants’ conduct was fraudulent, malicious, unconscionable and
                                                            11   oppressive, and were undertaken with conscious disregard for Plaintiff’s well-being.
                                                            12   Therefore, these actions entitle Plaintiff to an award of an exemplary and punitive
                                                            13   damages in an amount appropriate to punish or make an example of Defendants
                                                            14   according to proof.
                                                            15

                                                            16                              FIFTH CAUSE OF ACTION
                                                            17        Unlawful Business Practices – Cal. Bus. & Prof. Code §§ 17200, et seq.
                                                            18                     (Against all Defendants and Does 1 through 10)
                                                            19          99.    Plaintiff refers to and incorporates paragraphs 1 through 56 as though
                                                            20   fully set forth herein.
                                                            21          100. Virtually any law or regulation - federal or state, statutory or common
                                                            22   law - can serve as predicate for a § 17200 “unlawful” violation. Thus, if a “business
                                                            23   practice” violates any law, it also violates § 17200 and may be redressed under that
                                                            24   section. See e.g., People v. E.W.A.P., Inc., 106 Cal.App.3d 315, 319 (1980).
                                                            25          101. Defendants’ business acts and practices were unlawful as described
                                                            26   above under California Business and Professions Code §§ 17200 et seq.
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                                                             1          102. Defendants’ business acts and practices were fraudulent in that a
                                                             2   reasonable person would likely be deceived by their material misrepresentations and
                                                             3   omissions.
                                                             4          103. Defendants’ business acts and practices were unfair in that the
                                                             5   substantial harm suffered by Plaintiff outweighs any justification that they may have
                                                             6   had for engaging in those acts and practices.
                                                             7          104. Defendants have engaged in fraudulent and unlawful practices which
                                                             8   have caused Plaintiff to suffer actual injury in fact and lose money or property.
                                                             9   Defendants have acquired money or property or other benefits in amounts to be
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                                                            10   proven at trial as a direct and proximate result of their unlawful business practices
                                                            11   directed at Plaintiff.
                                                            12          105. Plaintiff is entitled to recover restitution, including without limitation
                                                            13   all benefits that Defendants received as a result their fraudulent business acts and
                                                            14   practices; and to injunctive relief restraining Defendants from engaging in further
                                                            15   acts of unfair competition.
                                                            16

                                                            17                              SIXTH CAUSE OF ACTION
                                                            18              False Advertising – Cal. Bus. & Prof. Code §§ 17500, et seq.
                                                            19                     (Against all Defendants and Does 1 through 10)
                                                            20          106. Plaintiff refers to and incorporates paragraphs 1 through 56 as though
                                                            21   fully set forth herein.
                                                            22          107. Defendants’ actions described above constitutes false advertising in
                                                            23   violation of the laws of the State of California.
                                                            24          108. Defendants knew or should have known that their advertising statements
                                                            25   were untrue and misleading.
                                                            26          109. Defendants’ untrue or misleading statements were made for the purpose
                                                            27   of disposing of goods, performing services, and/or inducing obligations.
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                                                             1         110. As a result of the Defendants’ false and misleading advertising, potential
                                                             2   and actual consumers have been, and will continue to be, misled about the legitimacy
                                                             3   of Defendants’ goods, services, or the combination of both being wrongfully
                                                             4   marketed, advertised, and sold.
                                                             5         111. By these actions, Defendants have engaged in false advertising and
                                                             6   unfair competition in violation of California Business & Professions Code §§ 17500
                                                             7   et seq., and as a result, Plaintiff has suffered and will continue to suffer damage to its
                                                             8   business, reputation, and good will. Additionally, Defendants have been, and will
                                                             9   continue to be, unjustly enriched in profits, income and ill-gotten gains at the expense
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                                                            10   of Plaintiff and other victims.
                                                            11         112. As a direct and proximate result Defendants’ conduct, Plaintiff has been
                                                            12   damaged in an amount to be determined at trial.
                                                            13

                                                            14                              DEMAND FOR JURY TRIAL
                                                            15         113. Plaintiff demands a trial by jury on all issues so triable.
                                                            16

                                                            17                                 PRAYER FOR RELIEF
                                                            18   WHEREFORE, Plaintiff prays for relief as follows:
                                                            19         1.     Judgment in Plaintiff’s favor and against Defendants, jointly and
                                                            20                severally, on all causes of action alleged herein;
                                                            21         2.     Treble damages its general and special compensatory damages to
                                                            22                Plaintiff’s business and property, damages in an amount to be proven
                                                            23                further at trial, plus interest, costs and attorney fees incurred by reason
                                                            24                of the Orochem Kazmira RICO Group and/or Orochem and/or
                                                            25                Kazmira’s violations of 18 U.S.C. §§ 1962 (c) and (d).
                                                            26         3.     For general damages and punitive damages under the California fraud
                                                            27                claims
                                                            28         4.     For punitive damages;

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                                                             1        5.    Restitution;
                                                             2        6.    For costs of suit incurred herein;
                                                             3        7.    For pre- and post-judgment interest;
                                                             4        8.    For attorneys’ fees and costs; and
                                                             5        9.    For such other and further relief as the Court may deem to be just and
                                                             6              proper.
                                                             7

                                                             8   DATED: May 3, 2022
                                                             9
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                                                            10                                        By:    _____________________________
                                                                                                             RYAN D. SABA, Esq.
                                                            11
                                                                                                             MICHAEL FORMAN, Esq.
                                                            12                                               Attorneys for Plaintiff,
                                                                                                             S.S.L INVESTMENTS, LLC
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